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9                               UNITED STATES DISTRICT COURT
10
                               NORTHERN DISTRICT OF CALIFORNIA
11

12    JANINE NARETTO, MATTHEW                         Case No. 3:21-cv-10027-EMC
13    ERICKSON, JONATHAN THOMAS
      HOLDWAY, TODD SIMONE, individuals;
14    HOMELESS ACTION! an unincorporated              NOTICE OF VOLUNTARY
15    association, on behalf of itself and those it   DISMISSAL OF ENTIRE CASE
      represents;                                     WITHOUT PREJUDICE
16

17
             Plaintiffs,                              Hon. Edward M. Chen

18                 vs.
19
      CITY OF PETALUMA and PETALUMA
20    POLICE DEPARTMENT.
21
                           Defendants.
22

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24          TO THE HONORABLE COURT, ALL PARTIES AND COUNSEL:
25   Plaintiffs in this matter and pursuant to Federal Rules of Civil Procedure 41(a)(1)(A),
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27                                                 1
     _____________________________________________________________________________________________
28   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE CASE WITHOUT PREJUDICE, Case
     No. 3:21-CV-10027-EMC
              Case 3:21-cv-10027-EMC Document 82 Filed 06/07/22 Page 2 of 2



1    voluntarily dismiss the entire case. Such dismissal shall be without prejudice.
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     Dated: June 6, 2022                                      Respectfully submitted,

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                                                              By: /s/ Colleen S. O’Neal
6                                                                  Colleen S. O’Neal
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28   NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE CASE WITHOUT PREJUDICE, Case
     No. 3:21-CV-10027-EMC
